EDTN     Judgment in a Criminal Case (Rev. 3/04)
         Sheet 1



                                       United States District Court
                                                   Eastern District of Tennessee

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Offenses Committed On or After November 1, 1987)
           BERNADETTE TRENT WEST
                                                                          Case Number:           3:06-CR-92-04

                                                                          David M. Eldridge
                                                                          Defendant’s Attorney

THE DEFENDANT:
[ T]     pleaded guilty to count(s): two (2) of the Superseding Indictment
[]       pleaded nolo contendere to count(s)       which was accepted by the court.
[]       was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                 Date Offense               Count
Title & Section                          Nature of Offense                                       Concluded                  Number(s)

18:1956(a)(1)(A) and (a)(1)(B)           Money Laundering                                        July 18, 2006              2
and (h)




        The defendant is sentenced as provided in pages 2 through 8 of this judgment and the Statement of Reasons. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and 18 U.S.C. §3553.

[]       The defendant has been found not guilty on count(s)        .

[]       Count(s)         [] is [] are dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and the United States attorney of any material change in the
defendant’s economic circumstances.

                                                                                                         January 19, 2007
                                                                        Date of Imposition of Judgment


                                                                                                    s/ Thomas W. Phillips
                                                                        Signature of Judicial Officer


                                                                                  THOMAS W. PHILLIPS, United States District Judge
                                                                        Name & Title of Judicial Officer


                                                                                                        January 19, 2007
                                                                        Date




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EDTN Judgement in a Criminal Case (Rev. 3/04)
     Sheet 2 — Imprisonment
                                                                                                                     Judgment - Page 2 of 8
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                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
     24 months .




[ T]     The court makes the following recommendations to the Bureau of Prisons:

         That the defendant be considered for placement in the BOP facility located in Alderson, West Virginia.

[]       The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district:
         [ ] at      [] a.m. [] p.m. on       .
         [ ] as notified by the United States Marshal.


[ T]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before 2 p.m. on .
         [T] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
I have executed this judgment as follows:




         Defendant delivered on                                   to

at                                          , with a certified copy of this judgment.




                                                                                                           UNITED STATES MARSHAL



                                                                                                    By
                                                                                                         DEPUTY UNITED STATES MARSHAL




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EDTN Judgment in a Criminal Case (Rev. 3/04)
     Sheet 3 — Supervised Release
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                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of       two (2) years   .



The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by
the court.

[]     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance
       abuse. (Check, if applicable.)

[T ]   The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[T ]   The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
       directed by the probation officer. (Check, if applicable.)

[]     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any such fine or
restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set forth in the
Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall also comply
with the additional conditions on the attached page.


                                      STANDARD CONDITIONS OF SUPERVISION

 1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
 2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
       month;
 3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)    the defendant shall support his or her dependants and meet other family responsibilities;
 5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
 6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
       substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
       contraband observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
       of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
       or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
       compliance with such notification requirement.



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    Sheet 3A - Supervised Release
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                                     SPECIAL CONDITIONS OF SUPERVISION
1. That the defendant participate in a program of testing and/or treatment for drug and/or alcohol abuse, as directed by the probation
officer, until such time as the defendant is released from the program by the probation officer if the probation officer determines that
such a program is required.

2. That the defendant complete 500 hours of community service as directed by the probation officer.




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EDTN Judgment in a Criminal Case (Rev.3/04)
     Sheet 5 — Criminal Monetary Penalties
                                                                                                                                            Judgment — Page 5 of 8
DEFENDANT:                 BERNADETTE TRENT WEST
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                                             CRIMINAL MONETARY PENALTIES
  The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth on
Sheet 6. The assessment is ordered in accordance with 18 U.S.C. § 3013.

                                                           Assessment                                Fine                        Restitution
      Totals:                                               $ 100.00                                  $                              $


[]    The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered after
      such determination.

[]    The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, if the United States is a victim, all other victims,
      if any, shall receive full restitution before the United States receives any restitution, and all restitution shall be paid to the victims
      before any restitution is paid to a provider of compensation, pursuant to 18 U.S.C. §3664.

                                                                                                                               Priority Order
                                                           *Total                             Amount of                        or Percentage
Name of Payee                                           Amount of Loss                    Restitution Ordered                   of Payment



TOTALS:                                                      $                                   $


[]      If applicable, restitution amount ordered pursuant to plea agreement $

        The defendant shall pay interest on any fine or restitution of more than $2500, unless the fine or restitution is paid in full before
        the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[]      The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

        [ ] The interest requirement is waived for the [ ] fine and/or                   [ ] restitution.

        [ ] The interest requirement for the           [ ] fine and/or       [ ] restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on or after
September 13, 1994 but before April 23, 1996.
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     Sheet 6 — Schedule of Payments
                                                                                                                                  Judgment — Page 6 of 8
DEFENDANT:               BERNADETTE TRENT WEST
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                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     [T] Lump sum payment of $ 100.00 due immediately, balance due

            [ ] not later than , or
            [ ] in accordance with [ ] C, [ ] D, or [ ] E or [ ] F below; or

B     []    Payment to begin immediately (may be combined with [ ] C, [ ] D, or [ ] F below); or

C     []    Payment in  (e.g., equal, weekly, monthly, quarterly) installments of $ over a period of                     (e.g., months or years), to
            commence (e.g., 30 or 60 days) after the date of this judgment; or

D     []    Payment in  (e.g., equal, weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years), to
            commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     []    Payment during the term of supervised release will commence within 1 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     []    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. Unless otherwise directed by the court, the probation officer, or the United States
attorney, all criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, shall be made to U.S. District Court, 800 Market St., Suite 130, Knoxville, TN 37902 . Payments shall be
in the form of a check or a money order, made payable to U.S. District Court, with a notation of the case number including defendant
number.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


[]    Joint and Several

      Defendant Name, Case Number, and Joint and Several Amount:



[]    The defendant shall pay the cost of prosecution.

[]    The defendant shall pay the following court cost(s):

[T] The defendant shall forfeit the defendant’s interest in the following property to the United States:

      See Attachment


      Forfeiture Real Property and/or Related Land Records

      (a)                                      Real Property, situated in District Four(4) of Knox County, Tennessee and within the 6th
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community
restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
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EDTN Judgment in a Criminal Case (Rev. 3/04
     Sheet 6 — Schedule of Payments
                                                                                                                                  Judgment — Page 7 of 8
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                                               Ward of the City of Knoxville, Tennessee, and being known and designated as Lot 19R, in
                                               the Resubdivision of Lots 19, 20, 21, and 22, of Swan & Mabry Addition, as shown by map
                                               recorded as Instrument No. 200303240084555, in the Knox County Register’s Office, said
                                               lot being more fully bounded and described by map, to which map specific reference is
                                               hereby made for a more particular description.

                                               Recorded in the Register of Deeds Office for Knox County, Tennessee September 5, 2005, as
                                               instrument Number 200509060021878, titled to the Industrial Development Board of the
                                               City of Knoxville. Being the same property conveyed by Quit Claim Deed dated May 9,
                                               2003, from Scott and Bernadette West to Lessee recorded with the Knox County Register
                                               of Deeds at Instrument No. 200305120102834. (16, 18, 20, 22 Market Square).

      (b)                                      The “Lease” concerning the aforesaid real property described in paragraph (1) immediately
                                               hereinabove, dated August 1, 2005, entered into by the industrial Development Board of the
                                               City of Knoxville, a public nonprofit corporation organized and existing under the laws of
                                               the State of Tennessee (“Lessor”), and Preservation Public LLC (“Lessee”) as evidenced by
                                               the “Memorandum of Lease” of record as Instrument Number 200509060021879 in the
                                               Register of Deeds for Knox County, Tennessee, and which reads in part as follows:

                                               WHEREAS, Lessor is a public nonprofit corporation and a public instrumentality of the City
                                               of Knoxville, Tennessee, and is authorized under Sections 7-53-101 to 7-53-311, inclusive,
                                               Tennessee Code Annotated, as amended (“the Act”), to acquire, whether by purchase,
                                               exchange, gift, lease, or otherwise, and to own, lease and dispose of properties for certain
                                               purposes identified in the Act.

                                               WHEREAS, in order to encourage Lessee to construct and rehabilitate an approximately
                                               26,300 square foot residential and commercial buildings located at 16-22 Market Square,
                                               Knoxville, Tennessee, thereby furthering the purposes of the Act, Lessor desires to lease to
                                               Lessee and Lessee desires to rent from Lessor certain real property hereinafter more
                                               particularly described, on the terms and conditions set forth herein;

                                               WHEREAS, the City Council of the City of Knoxville, Tennessee, authorized the Lessor to
                                               negotiate and accept from the Lessee payments in lieu of ad-valorem taxes pursuant to
                                               Resolution No. R-377-03 approved September 10, 2003; and
                                               NOW, THEREFORE, Lessor, for and in consideration of the payments hereinafter stipulated
                                               to be made by Lessee, and the covenants and agreements hereinafter contained to be kept and
                                               performed by Lessee, does by these presents demise, lease and let unto Lessee, and Lessee
                                               does by these presents hire, lease and rent from Lessor, for the Term (as described below)
                                               and upon the conditions hereinafter stated, the premises described in Exhibit A attached
                                               hereto, together with all facilities and improvements now existing or hereafter constructed
                                               thereon by Lessee or otherwise....

      (c)                                      Real Property, located in District Four (4) of Knox County, Tennessee and within the 6th
                                               Ward of the City of Knoxville, Tennessee, being located on the East side of Market Square,
                                               and more particularly described as follows:

                                               BEGINNING at the center of a brick division wall between Eckle and Gossett (former
                                               owners) at the pavement on said Market Square; thence Easterly with said Gossett line about
                                               120 feet to an alley; thence Southerly along said alley 20 feet four inches; thence Westerly
                                               along the center wall of the present Brick business house formerly belonging to Eckle about
                                               120 feet to Market Square; thence Northerly 20 feet 4 inches to the BEGINNING. Being
                                               known as 28 Market Square Mall. It being the true meaning and intent to convey to the
                                               second parties to the center of each wall on each side of said lot.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community
        Case
restitution,      3:06-cr-00092-TWP-HBG
             (6) fine                                           Document
                      interest (7) penalties, and (8) costs, including          173 Filed
                                                                       cost of prosecution        01/19/07
                                                                                           and court costs.        Page 7 of 8 PageID
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EDTN Judgment in a Criminal Case (Rev. 3/04
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                                               Recorded in Warranty Deed registered on August 28, 2002, as instrument Number
                                               200208280017284, in the Register of Deeds Office for Knox County, Tennessee, titled to
                                               Scott West and wife, Bernadette West. (28 Market Square)

      (d)                                      Real Property, located in District Four (4) of Knox County, Tennessee and within the 6th
                                               Ward of the City of Knoxville, Tennessee, and being Lot 13 of Swan and Mabry’s Addition,
                                               which lot runs 28 feet on the East side of Market Mall and extends East along the South line
                                               of Wall Avenue, 118.1 feet, more or less, to an alley, and being more particularly described
                                               as follows:

                                               BEGINNING at a point marking the intersection of the Eastern line of Market Square with
                                               the Southern side of Wall Avenue; thence in an Easterly direction and with the Southern line
                                               of Wall Avenue, North 63 deg. East 118.1 feet to an iron pin in the Westerly line of a 10 foot
                                               alley; thence in a Southerly direction with the Western line of said alley, South 27 deg. East
                                               28.0 feet to an iron pin; thence South 63 deg. West 118.1 feet to the Eastern line of East
                                               Market Square; thence with the Eastern line of East Market Square, North 27 deg., West 28.0
                                               feet to the point of BEGINNING, as shown by Survey of Property of Fikret T. Gencay by
                                               Michael E. Luethke, Tennessee, Registered Surveyor No. 842, Luethke Surveying Company,
                                               6538 Vintage Drive, Knoxville, Tennessee 37921. Said survey being dated July 7, 1994, and
                                               bearing Drawing No. 94287.

                                               Recorded in Warranty Deed registered on May 9, 2002, as Instrument Number
                                               200205090093076, in the Register of Deeds Office for Knox County, Tennessee, titled to
                                               Bernadette West and husband, Scott West. (36 Market Square also known as 320 Wall
                                               Avenue).

      Currency

                                               $13,519.00 in United States currency recovered from Ronald Scott West and Bernadette
                                               Trent West, on July 16, 2006, at 18 Market Square, Apartment 211, Knoxville, Tennessee.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community
        Case
restitution,      3:06-cr-00092-TWP-HBG
             (6) fine                                           Document
                      interest (7) penalties, and (8) costs, including          173 Filed
                                                                       cost of prosecution        01/19/07
                                                                                           and court costs.        Page 8 of 8 PageID
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